      Case 2:17-cv-03465-SM-JVM Document 127-3 Filed 11/26/18 Page 1 of 2



                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
__________________________________________
 VIVIAN PATZ and MICHAEL PATZ,             )
                                           )
                  Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
      v.                                   )
                                           ) Judge Susie Morgan
 SUREWAY SUPERMARKET, et al.               ) Magistrate Janis Van Meerveld
                                           )
                 Defendants.               )


                                STATEMENT OF MATERIAL FACTS

        Pending before the Court is the Plaintiffs’ Motion for Partial Summary Judgment to

Pierce Defendants’ Corporate Veil. In support of that motion, Plaintiffs submit this statement of

undisputed material facts:

    1. Walter H. Maples, Inc. and SHH Properties, L.L.C. are entities operating in Louisiana.1

    2. Shelly Jambon is the sole owner of Walter H. Maples, Inc.2

    3. Shelly Jambon is the sole owner of SHH Properties, L.L.C.3

    4. Denise Esponge is an employee of Walter H. Maples, Inc., but not of SHH Properties,

        L.L.C.

    5. Denise Esponge has, on the direction of Ms. Jambon, done work on behalf of SHH

        Properties, L.L.C. while being compensated by Walter H. Maples, Inc., such as posting

        eviction notices and collecting rent.4

    6. David Felarise is an employee of Walter H. Maples, Inc., but not of SHH Properties,

        L.L.C.


1
  Ex. B (“Corporate Disclosure Statement on Behalf of Walter H. Maples, Inc. and SHH Properties, L.L.C.”).
2
  Ex. B (“Shelly M. Jambon, sole shareholder, President.”); R. Doc. 115-4 (“Deposition of Shelly Jambon”), Pg:12,
Ln:1-14; see also, Id. at Pg:167, Ln: 19-21.
3
  R. Doc. 115-4, Pg:167, Ln:4-16.
4
  R. Doc. 115-5 (“Declaration of Denise Esponge”), Pg:58, Ln:19 – Pg:59, Ln:8.
      Case 2:17-cv-03465-SM-JVM Document 127-3 Filed 11/26/18 Page 2 of 2



    7. David Felarise has, on the direction of Ms. Jambon, done work on behalf of SHH

        Properties, L.L.C. while being compensated by Walter H. Maples, Inc., such as posting

        eviction notices and fixing appliances.5

    8. Shelly Jambon holds joint meetings with the mutual CPA for Walter H. Maples, Inc. and

        SHH Properties, Inc.6

    9. SHH Properties, L.L.C., rents exclusively to Walter H. Maples employees and does so at

        below-market rates.7

    10. SHH Properties, L.L.C. has posted a net-negative income for the years 2015, 2016, and

        2017.8

    11. Walter H. Maples, Inc. employees have performed work on Shelly Jambon’s personal

        property while being paid by Walter H. Maples, Inc.9

    12. Walter H. Maples, Inc., does not hold regular business meetings and has gone years

        without holding such a meeting.10




5
  R. Doc. 115-5, Pg:85, Ln:15-22.
6
  R. Doc. 115-4, Pg:172, Ln:25 – Pg:173, Ln:1
7
  R. Doc. 114-4 at ¶ 5; see also, R. Doc. 115-4, Pg: 97, Ln:11.
8
  Ex. D (SHH Financial Statements, 2015-2017).
9
  R. Doc. 115-4, Pg:176, Ln:19 – Pg:177, Ln:10 (emphasis added).
10
   R. Doc. 115-4 Pg:171, Ln:8 – Pg:172, Ln:11.
